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UNITED STATES DISTRICT CDURT FDR 'I`HE DISTRICT OF ]]JAHO

UNITED STATES OF AM]ERICA, ) Case No. CR-Ud'-lE?-C~RCT
)
) GOVERNMENT’S RESPONSE TO
Plaimi£f, ) DEFENDANT’E'. MO’H`oN To
vs. ) SUPPRESS EVIDENCB OF
) DEFENDANT'S ALLEGED
DAVID ROLAND HINKSON, ) CONFBSSION (snd quuost
Dofondsnt. ) for Evidontisry Hoaring)
)

 

COMES NOW the Unitod Sts.tos of Americs, by and through its undersigned attorneys
and rospootiillly files this opposition to defendant David Roland Hinkson’s motion to suppress
evidence of his confession (Motion), pursuant to the Fi&h and Sixth Amondmonts to the Unitod
Statcs Constitution, based on the words “I csn’t call my lswyer?” uttered by Defsndant while in
the midst of being arrested At the time, Dofsndant was not arguing with the instructions of s

low enforcement offioor, who was properly and solon focused on securing Dofondant and

GGVERNMENT’S R.ESPONSE TO DEFENDANT’S MOTION TC|
SUPPRESB EVIDENCE OF DEFENDANT'S ALLEGED CONFESSION
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completing the arrest safely.

Defendsnt’s motion should he denied. He had not yet been charged with the offenses
being investigated and so his Sixth Amendment right to counsel had not yet attached Moreover,
Defendant’s reference to counsel occurred prior to custodial interrogation1 and one cannot invoke
the Fifth Amendrnent right against self-incrimination anticipatorily. Iudeed, under the
circumstances Defcndant’s reference to counsel was ambiguous Ho\vever, his subsequent
initiation cfa conversation about the investigationl after clear Miromfc warnings, both clarified
his earlier comment and cancelled the prophylactic requirement ofEdwurds herring
interrogation lu light of Defendant’s hackground, experience, and conduct, his decision to speak
with law enforcement constituted a lmowing, willing, and voluntary waiver of his Fifth
Amendrnent right against solf-incriminationl In sum, the facts as alleged by Defendant, even if
true, would not justify suppression of his statement to law enforcement on A.pril 4, 2003.
Accordingly, there is no cause to hold an evidentiary hearing.

BACKGRDUND

A federal grand jury in the Distn`ct of Idaho indicted Defendant in case No. CR-02-142-
BLW for tax evasion and misbranding commercial products (“the Tax case”). After Defcndsnt
was arrested for those offenses in Novernher 2002, he was free on bond until April 4, 2003, when
he was enacted again pursuant to a warrant issued by the Mugistrste Judge in the District of
Idaho for alleged violation of the terms and conditions of his hond. The order revoking hood was
based on evidence that Defendant had solicited the murders of three federal officialsf U.S.

District lodge E.dward Lodge, Assistsnt U.S. Attomey (AUSA) Nancy Cooic, and [RS Special

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Agent (S/A) Steve Hines.

On April 4, 2003, Defendant was called to meet with Oficer Skott Mcaler of the Idaho
Ccunty Shen`ff’s foice at the Koosltia Sheriff's Substation. The ostensible purpose of this
meeting was to discuss Defendant’s allegations that a fenner employce, Mariana Raff, had
robbed him of several thousand dollars The primary motivation for the meeting however, was
to facilitate Defendant’s arrest at the police station, and thereby avoid a potentially dangerous
altercation at Defendant*s hcuse. See Supplemental R.eport of Arrest (Exhibit 1 hereto). The
government had good reason to be concerned about violence, given the tip that Defendant had
solicited murders of three federal ofticials, and knowledge that Defendant owned fireanns. .S‘ee
Testimcny of Special Agent (S/A) William Long at April 9, 2004 detention hearing (DH), at 4~
12, 17-19;‘Motion, at 5 n.5.

After officer Mealer spoke with Defendant about the alleged robbery, Offlcer Mealer
introduced Defendant to S/A long of the Federal Bureau of lovestigaticn. According to
Defendant, his conversation with S!A Long Was as follows:

LONG: Dave, what I have for you is a warrant for your
arrest.

nmusora ways

LONG: The warrant il [sic] the judge signed an order to
revoke your pretrial release.
I'lll\lKSON: Why?

 

‘ S/A I_ong’s testimony is attached as Exhihit l to the Government’s Response to
Defendant’s Motion to Dismiss On the Basis ofPreindictment Delay and Pretrial Delay In
Violation of Fifth and Sixth Amendments and Fed. lt4 Crirn. P. 4B(b), filed herewith

GOVERNMENT'S RESPONSE TO DEFENDANT’S MOTION 'l`O
SUPPRESS EVlDENCE OF DEFENDANT’S ALLEGED CON'FESSION
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LONG.' I’rn going to explain that to you, okay'?

I-HNKSDN: lnaudihle.

LONG: Before I do that, okay, since you‘re under arrest at this time, do you have
any weapons on you or anything like that?

I'LE\]KSON: No.

LONG: Olcay, go ahead and stand up.

H]NKSON: Csn l make my phone cali?

LDNG: blot right now. Stand up. Stand up.

HD»JKSON: I really don’t want to go with you right now. It’s
Friday night

LONG: Well,l it’s really not negotiablel Put your hands
behind your head. I’m just going to pay you down
for any weapons

HINKSON: l can't call my lawyer?

LONG: Not right now you can’t.

I'IINKSGN: How come? That’s just my tape reoorder.

MEM£R: lt’s on. Do you want me to leave it on?

mNG: You can turn it off.

MEALER: Okay. 'l`urn off the time - or the tape. It’s 3:28.

 

 

Motion, at 5-'7. The defendant concedes that these statements, made in the midst of the arrest,
were the only reference he made to an attomey. See Motion, at 14.
After arresting Defendant and conducting a search incident to arrest, S/A Long read
Defendant his Mironda warnings verbatim from the standard FBI form. See DH, at 26.
GOVBRNMENT’S R.ESPONSE TO DEFENDANT’S MOTIGN TO

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Defendant indicated verbally that he understood the Mz'rondo warnings .S'oe Id.; FD»S 02
Surrunariaing April 4, 2003, hiterview of David R. Hiukson (FD-B 02), at 1 (copy attached hereto
as Bxhihit 2); DH, at 25. Eefore SIA Long had asked Defendant any questions shout the
investigation Defcndant immediately initiated the conversation discussing`how Defeudant
believed he had been set up by Raff. Ses Supplemental lteport ofArrcst, at l; see also FD-$OZ,
at l; DI-I, at 26. Defendant then proceeded to discuss with S/A. Long other aspects of the
investigation but they did not discuss the substance ochfendant’s Tax ease. .S‘se FD-BOZ, at
l.DH, ai 26; FD»BOZ; Supplemental Report of Arrest.

rt detention hearing was held on April 9, 2004, on the alleged violation of Defendant’s
pretrial release, after which the Magistrate lodge issued an order revoking Defendant’s bond. He
has remained incarcerated since.

On luna 22, 2004, a federal grand jury in the Distn'ct ofIdaho indicted Defendant for his
threats against the three federal officials and their families (the 'l'hreats case). A superseding
indictment was rotumed thereafter, charging Defendant with nine counts of soliciting the murder
of a federal ofiicial (Couuts I through IX) and two counts of threatening to murder a family
member of a federal official on account of performance of official duties (Counts X and XI).

ARGUMENT
I. Defendant’s Statemeot Waa Properly Obtained
A. The Sixth Ameudment Right to Ccuusel I-Iad Not Yet Attached
The Sixth Amendment right to counsel does not attach until a prosecution is commenced

that is “a.t or after the initiation of adversary judicial criminal proceedings _ whether by way of

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formal charge, preliminary hearing, indictrnent, information, or arraignmen ." Unitsd' States v.
Gouvet'a, 467 U.S. 180, 188 (1934] (internal quotations and citation omitted). At the time
hereith spoke vista s/a tang en Ape't 4, ccoa, ns charges ass assn nies sr stan adversary
criminal judicial proceeding had been commenced against Det`endant regarding his alleged
threats to federal officials and their families Accordingly, the Sixth Arnendment right to counsel
had not attached regarding those offenses

The Sixth Amendmcnt provides that "[i]n all criminal prosecutions, the accused shall
enjoy the right . . . to have the lAssistance ofCounsel for his defence." The purpose of this tight,
and “hence the purpose of invoking it ~ is to ‘protect the unaided layman at critical
confrontations' with his ‘expert adversary,' the govsmrnent, after ‘tlie adverse positions of
government and defenth have solidified with respect to the particular alleged crime. MeNez'l v.
Wisccnsin, 501 U.S. 171, 177»78 (1991). “Once this right to counsel has attached and has been
invoked, any subseqth waiver during a police-initiated custodial interview is ineffective.” Id.
at 175. l-lowever, the right “i.s offense speciiic. lt cannot be invoked once for all future
prosecutions . . ." Id. For this reason, “[i]ncriminating statements pertaining to other crimes. as
to which the Siitth Amendment right to counsel had not yet attached, are of conrae, admissible at
a trial ofthose offenses.”’ Id. (citing Mdin v. Moi¢l¢tm, 474 U.S. 159, 180 (1985)).

ln Taxos v. C‘obb, the Suprcme Court considered a case where a home had been
burglarized and two of its occupants reported missing. Defendant Cobb was initially indicted
only for the burglary. While he was free on bond, authorities obtained a tip that Cobb had also

murdered the missing people Cobb was arrested, given Mirando warnings, and., after waiving

GOVERNMENT'S R.ESPONSE TD DEFENDANT'S MOTION TO
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his rights, confessed to the murders The central issue was whether his interrogation violated the
Sirtth Amsndment right to counsel, given that Cobb had already been appointed counsel to
handle the burglary charge l-Iolding that chb’s Sixth Amendment rights had not attached with
respect to the murders, the Suprerne Court declined to “rcad into MoNeil 's offense-specific
definition an exception for crimes that are ‘factually rclated’ to a charged oH`ense.” Id. at 168.
"[I]t is critical to recognize that the Ccnstitution does not negate society's interest in the ability of
police to talk to witnesses and suspects, even those who have been charged with other offenses.”
Id. at 171~72. The court further guided that, “‘where the same act or transaction constitutes a
violation cf two distinct statutory prcvisicns, the test tc be applied to determine whether there are
two offenses cr only one, is whether each provision requires proof of a fact which the other does
not.’" Id. at 173 (quottng Blockburger v. Um`red .S'tatss, 284 U.S. 299, 304 (1932)). The Cobb
Court then held that burglary and murder are not the sarno offense,l and so the confession was not
obtained in violation of defendant's rights.

Applying Cobb to the instant action, it is clear that, for purposes of the Siitth
Amendtnent, the charges pending against defendant in the Tax case are the same cifense as the
directs being investigated by S/A long on April 4, 2003. To convict on those threats, the
government would have to prove facts not in issue in the Tax case: specifically, that Defendent
had solicited the murders of federal otheials, and that he had made threats against their families
on account of the official’s performance of official duties. Therefore, that Defendant had a
lawyer representing him in the Tax case did not operate to give Defcndant a Sixth Amendment
right to counsel when he was approached by S/A Lcng about the alleged threats.

GOVERNMENT’S R.ESPONSE TCl DEFENDANT’S MCJTIDN TO

SUPPRESS EV]DENCE DF DEFENDANT’S ALLEGED CONFESSIGN
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Defendant Hinkson quarrels much with S/A Long’s testimony during the detention
hearing, when S/A Long did not recall that Defendant indicated in the midst of his arrest on April
4, 2003, that he “had a lawyer." See, s.g., Motiort, at 3-4, 8-11. As MeNeil and C'obb make
clear, hcwever, Defcndant’s Siittb Arnendment tight tc counsel had not yet attached with respect
to the alleged threats, and so whether Defcndant “had a lawyer” for other, charged offenses was
irrelevant to the situation before S/A Long. ln the midst of Defendant’s arrest, S!A Long was
focused solely on completing securing a potentially dangerous situation Moreover, S/A hong
testified accurately when asked whether Defendant had indicated a desire to have counsel present
during custodial interrogation responding that Defendant understood his Miranda rights and
immediately started talking Sse DH, at 26.

ln sum, Defendant’s Sixth Amendrnent right to counsel had not yet attached when S/A
hong spoke Wi`l`.h Dof`onda!tt on April 4, 2001

B. The Fiftb Amendmcnt Right Agsinst Self Incrimination
Cannot Be Involted Anticlpatorlly In the Midst of an Arrest

Defendant further contends that his Fiith lamendment right against self-incrimination was
infringed, and that when he made his reference to counsel S/A Long should have stopped asking
questions and not even given Mz'rondo warnings Metnorandum in Suppcrt ofMoticn, at 3-5.
This position reflects a fundamental misunderstanding of the limited right to counsel afforded by
the Fifth Amecndment, which cannot be invoked prior to custodial interrogation It` adopted,
Defendant's extreme position would grossly hinder proper law enforcement activities and,

ironicaliy, unconstitutionally limit the very protections afforded by Mr‘rnndo.

GOVERNMENT’S RESPONSB TO DEFENDANT’S MOTION TO
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The Fifth A.rnendment provides that no person “shall be compelled in any criminal ease to
be a witness against himself.” Thie requires that custodial interrogation be preceded by advice cf
the rights to remain silent and to the presence of an attomey. Miranda v. Arizomz, 384 U.S. 436,
479 (1966). If counsel is requested. “thc interrogation must cease until an attorney is present.”
Inl. At 474. To this rule, the Supreme Court added in Edwnrds v. Arizona the prophylach
requirement that, when the accused has validly invoked his right to have counsel present during
custodial interrogation, subsequent waiver by the accused of his Fifth Amcndment right cannot
be established by showing that the accused responded to further police-initiated custodial
interrogation 451 U.S. 477, 484-85 (1981).

The right to counsel guaranteed by the Fitth Amendment is limited, however, end cannot
be invoked in advance of the circumstance that it protects against, specifically, custodial
interrogation In Mchi`t, the Supreme Court found there be no constitutional violation with
respect to defendant's confession of a burglary and murder in Caledonia, Wiseonsin. At the time
this confession was given, defendant McNeil had already been charged and was represented by
counsel in connection with a separate burglary in West Allis, Wisconsin. In reaching its
decisicn, the Suprerne Court reiterated that Edwords “applies only when the suspect has
expressed his wish for the particular sort of lawyerly assistance that is the subject ofMiranda. lt
requires, at a minimum, some statement that can reasonably be concurred to be an expression of a
desire for the assistance ofan attorney in dealing with custodial interrogation by the police.” Id.
at 178 (citations and quotations omitted) (emphasis in original). The Supreme Cotn't further
explained in dicta the limited nature cf Mr`rondcr/Errwards:

GUVER.NMENT’S RESPDNSE TO DEFENDANT'S MDTION TO

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We have never held that a person can invoke his Mirsnda rights
anticipatorlly, in a contest other than custodial interrogation . . . .
Most rights must be asserted when the government seeks to take
action they protect againstl The fact that we have allowed the
Miranda right to counselll once asserted to be effective with respect
to future custodial interrogation does not necessarily mean that we
will allow it to be asserted initially outside the content of custodial
interrogation with similar future effect

Id. at 182 n.3.

'I'his guidance was embraced by the Ninth Circuit in Um'red Staies v. Wr‘ight, when it held
that “Miranda rights may not be invoked in advance outside the custodial context." 962 F.2d
953, 955 (9“h Cir. 1992). During defendant Wright’s guilty plea on a separate off-se, his
counsel requested to be to be present at future interrogations of defendant ch acting counsel’s
assertion that this request had invoked Wright’s Fitth Amendrnent right to ccunsel, the Ninth
Circuit held that Wr'ight’s subsequent statements to police, made without counsel present, were
not obtained in violence ofMirende/Edwnrds. See Id. at 95 ti.

A request for Mironda counsel is not therefore effective if made while a person is in
custody but before interrogation Indeed, it is axiomatic that “[a] request for Miramie counsel
must be made within “the context of custodial inten~ogation" and no sooner." Alsion v. Rsriman,
34 F.3d 1237, 1246 (3"‘ Cir. 1994). The antipathy towards anticipath invocation ofMircndo
rights is consistent with Mirando 's underlying principles Ses Id. at 1246. The Mircada right to
counsel is a prophylactic rule that does not operate independent form the danger it seeks to

protect against - “the compelling annosphere inherent in the process of in-custody interrogation”

- and the effect that danger can have on a suspect’s privilege to avoid compelled self-

GOVERNMENT’S R.ESPONSE TO DEFENDANT'S MOTION TO
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incrimination See Id. (ciiing Mironda, 384 U.S. at 478]. To allow an individual to interpose
Mironde in a situation outside the custodial interrogation would represent an unwarranted
extension of Mirone'a ‘s procedural safeguards Sse Id. (cr'iing Davz`s v. Uuited .S‘roies, 512 U.S.
452 (1994) (declining “to extend Edwords and require law enforcement officers to cease
questioning innnediately upon the malong_ofan ambiguous or equivocal reference to an
attomey")). ‘*It is clear . . . that the special procedural safeguards outlined in Mirondo are
required not where a suspect is simply taken into custody, but rather where a suspect in custody
is subject to interrogation." Rhode friend v. Irmis, 446 U.S. 291, 300 (1930).

In Unr'ted .S’tnrss v. Doe, the Ninth Circuit considered a case where defendant, a juvenile,
had been arrested and placed in a holding cell1 170 F.Eld 1152, 1166 (9th Cir.), cert dem`ed, 523
U.S. 978 (1999). An hour and a half lster, a U.S. Custorns agent introduced himselfto
defendant noting that a large quantity of narcotics had been recovered nom the van defendant
had been driving Before the Custcms agent could begin to explain the booking process otto
interrogate defendant, the defendant asked the agent, “What time will I see a lawyer'?" The agent
responded that defenth could see a lawyer within two days if the State prosecuted him and one
day if the federal government prosecuted hirn. A few hours later, after being Mirandiaed,
defenth confessed The Ninth Circuit held that defendaut's motion to suppress this confession
was properly denied. because defendant had not invoked his right to have counsel present during
interrogation Id. at 1166. The Ninth Circuit highlighted that defendant had "questioned [the
Custom’s agent] about an attorney before being read his Mirando rights, before being

interrogated and even before biographical questioning began." Id. Consequently, the court

GOVERNMENT’S RESPONSE TO DEFEN`DANT’S MOTION TO
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considered defendant’s question, “What time will 1 see a lawyer” to be “an inquiry regarding the
time at which appointed counsel would be made available.” !d.

As in Doe, defendant Hinkson’s reference to counsel was made while he was being
arrested, before custody had been secured, before Hinkson had been Mirandized, and before any
interrogation had begun. Thus, whatever his statement, it was made too early to trigger Fifth
Arnendrnent protectionsl See .S'rotes v. Bauiisto, 145 F.3d 1140, 1147 (10“‘ Cir.), cert r.ienicrl'l
525 U.S. 911 [1993) (“[A] custodial situation and official interrogations are required in order to
implicate the Mircnd¢r Edwartis right to counsel prcpbylaxis.").

Defendant*s asserts that after he made his reference to ccunlel, S/A long “was required
to cease questioning [hirn].” See Memorandum in Support of Mction, at 34 This contention is
premised on a misreading cf four Ninth Circuit decisions, all ofwhich involve custodial
interrogations where defendant had sought to invoke his right to counsel after having been read
the Mr'rarrdo warnings See Robinson v. Borg, 918 F.2d 1387, 1389 (9“' Cir. 1990), cert abortedl
502 U.S. 868 (1991) (Miranda warnings given); see also Smr'ih v. Endel!. 860 F.lld 1523, 1529
(9"‘ Cir. 1988), cert denied, 498 U.S. 981 (1990) (sarne}; divorce v. Gomas, 185 F.3d 995, 996-
97 (s“' cir. iass) (ssme); threat sets v. rata 973 ass 746, 751-752 rea ca. isss) clean
that after defendant was uncuffed, be requested counsel but “interrogation continued").
Accordingly, these cases are inapposits, because defendant Hinlcson made his reference to
counsel in the midst of arrest. before custodial interrogation and before receiving Mircmio
warnings

Defendant’s position that his reference to counsel occurred while he was being

GOVERNMENT'S R.ESPONSE TO DEFENDANT’S MOTIUN TO

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interrogated is also incorrect factually. According to Defendant*s own transcript, the only
question that S/A Long had asked Defcndant prior to Defendant’s reference to counsel was
l whether Defendant was carrying a weapon The notion that S/A Long should stop such

questioning while trying to secure a potentially dangerous situation stretches beyond
comprehension the protections actually afforded by Mr'rende. Ftnthermore, Defendant’s
contention that S/A I.ong should not have warned him of his Mirnncie rights ~ the very rights that
he now says were violated -- runs directly counter to Mr'rcndu and its voluminous progeny, which
clearly require law enforcement officers to notify a person cf their Mirnnda rights in the context
of a custodial interrogation Ssc Memorandum in Support of Mon'on, at ¢LS (“Agent Long never
should have Mirandir:ed him . . . "),

S/A. Long acted properly, and Defendsnt’s premature reference te counsel was
ineffective to invoke Fiflh Arnendment protectionsl

C. Defendant’s Refcrence Tn Counsel Was Ambiguous

A statement is sufficient to invoke the right to eotursel only if a reasonable police ofhcer
would perceive the statement to be a request for counsel .S'cs Dnvr‘.r, 512 U.S. at 45 9. Courts
agree that a statement concerning an attorney made before interrogation begins ia far less likely
to be a request for attorney assistance during interrogation than a similar statement made during
custodial interrogation Dne, 170 F.Eld at 1166; sec also Grcnt-Cnoss v. C'ommissioner, New
H¢rmpshire Dep't ofCorrecn’cns, 145 F.3d 431, 435 n.5 (lst Cir.), cert dcnied, 525 U.S. 941,
119 S. Ct. 361, 142 L. Ed.2d 298 (1998); United Stu.tes v. Scurlnck, 52 F.3d 531, 537 (5"‘ Cit*.

1995) (defendsnt’s pre-interrogation request for an attorney "could reasonably be understood to

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he a recognition by the defendant of her need for an attorney in the funne . . ."); Williems v.
Lnrson, 2003 WL 1735 807 (N.D. Cal.) (“A statement concerning an attorney made before
interrogation begins is far less likely to be a request for attorney assistance during interrogation
than a similar statement made during custodial interrogatien"). Where the desire to invoke the
Fiith Anrendrnent right to counsel is unclear, the Ninth Cireuit has held that there may be further
questioning to clarify the dcfendant's intention. Unireo’ Srnres v. Feuchc, 776 F.Zd 1398, 1405
(9“‘ C‘ir. 1985). “lf clarification reveals that the suspect does not went counsel, the interrogation
may continue." I¢i.

Asstuuing arguendo that defendant l-Iinkson’s reference to counsel was sufficiently
timely to invoke a Fifth Amendment right to counsel, thc reference was at ambiguous and more
than anything suggested that Defendant wanted legal assistance to avoid being arrested, not to
help him in a custodial interrogation A careful parsing of the colloquy between Hinkson and
S/A Long makes this clear. lmrnediately upon being introduced to Defendant by Officer Mealer,
S/A Long told Defendant that he had a Warrant for his arrest. S/A Long then asked Deflldant
whether he was carrying any weapons, to which Defendant answered no. S/A Long then
instructed Defendant to “stand up.” Defendsnt failed to comply, however, instead stating “CanI
make my phone call?”2 S/A Long’s response “not right now," was entirely appropriate as the job
at hand was to secure defendant peaceably. S)‘A Long then repeated his instruction, twice:
“Stand up. Stand up." This time rising, Defendant again argued with SIA long, “l don't really

want to go with you right now. It‘s Friday night." To this S/A Long replied, "Well,l it’s not

 

2 Notably, Dcfendsnt did not specify who he wanted to call.

GGVERNMENT'S RESPONSE TO DEFENDANT’S MO‘I`ION TO
SUPPRESS BV]DENCE OF DEFENDANT’S ALLEGED CON'FESSION
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really negotiable Put your hands behind your head. I’m just going to pat you down." R.athcr
titan comply, again Dofendant argued with S!A Lcng, saying “I can’t ca11 my lawyer?” S/A Long
then replied “uot right now you can't." This exchange shows that Defcndant simply did not want
to be arrested and, given the presumption of Doe, Gront-Chrrse, Scurlcek, and Willicms,
Defendant’s lone reference to counsel cannot reasonably be construed as a request for such
assistance in a custodial interrogationl

To the extent SIA. Long continued to question Defendant after he made reference to
counsel, the questions were limited to the Mircn¢ia warnings, which would work to clarify any
prior ambiguous request t’.`.`ji McNer'l, 501 U.S. at 180 (“Ii` a suspect does not wish to
communicate with the police except through an attorney, he can simply tell them that when they
give him the Mirands warnings."). Through the Mircnda questions, and Defendant’s reaction,
any ambiguity as to whether Defcndant wanted to have counsel present during custodial
interrogation was removed Defendant wanted to talk.

D. Dei'endsnt’s Waived his thnda Rights

Dcfcndant knowingly, intelligently, and voluntarily waived his Fifilr Ameruimcnt rights
when he initiating the discussion with S/A Long after receiving his Mt'rande warnings The
prophylactic rule ofMircnda/Edwurds, ban'ing iirrther interrogation once an accused has invoked
his Fifth Amendrnent right to counsel, is inapplicable “wh- the accused himself initiates further
communication.” Edwords, 451 U.S. at 484-85.

This limitation was clarified by the Supreme Ccurt in Uregen v. Brndshew. In that casc,

the defendant had initially invoked his §Fifth Amendment right to counselll but later reopened a

GOVERNMENT'S R.ESPONSE TO DEFENDANI"S MOTION FUR PROPBR VENUE OR.
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dialogue with the police by asking “Well, what is going to happen to rne now?" Id. at 1041~42.
The Suprcme Court ruled that when the accused has “evinced a willingness and a desire for a
generalized discussion about the investigation," law enforcement agents may resume an
interrogation if there has been a valid waiver of Pifrh Amendrnent protectionsl 462 U.S. 1039,
1045 -4'7 (1983) (eontrasting defendant's question with a “necessary inquiry arising out ofthc
incident of the custodial relationship”such as seeking a drink of water or to use a telephone).

ss aid defendant stedman defendant nurses initiated eis conversation watt nw
enforcement Beforc being asked any questions, Hinlcson volunteered that he had been set up by
R.aft`. Though this exchange, Hinlcson expressed a clear desire to speak about the investigation
Fcr this reason, even had Defendant previously invoked a Fiith Amendrnent right to ccunsel,
horn that point on, the prophylactic rule ofMirondn/Edwards was ina.]:vplicable.J

Hinkson voluntarily, knowingly, and intelligently waived his Fiith Amendrnent rights. A
waiver is voluntary if made as a free and deliberate choice, without intimidation, ccercion, or
deception .S‘ee .S'nedelbowcr, 885 F.Zd at 574-5?5; see also Um'ted Srore.r v. Velesquea, 885 F.2d
10'1'6, 1087-1088 (3d Cir. 1989) (waiver was voluntary; suspect had only briefly been in custody,
was not ill-trcated, and no threats or promises had been made). lndeed, there is no allegation that
Hinlcson was threatened or promised anything before he initiated his conversation with SIA

Long. Knowing and intelligent waivers occur where the suspect had been advised ofhis rights,

 

3 The Ninth Circuit has held that remarks by law enforcement following invocation of the
right to counsel do not “initiate” an interrogation if they dc not call for an incriminating response
and were not an invitation to discuss the matter. Sss She¢ielbowsr v. E.sreiie, 885 F.2d 570, 572-
.574 (9th Cir. 1989) (ofiicer's statements that suspect’s friend was in custody and that the suspect
had been identified by the victim did not initiate interrogaticn).

GOVERNMENT’S RESPDNSE TD DEFENDANT' 8 MOTION FOR PROPER VENUE OR
ALTBRNATIVELY, MOTION TD CHANGE VENUE
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understood his rights, end not been threatened cr induced to talk. See Brodshsw, 462 U.S. at
1046-1047 (recognizing that a suspect can change his mind about wanting an attorney). In
Unitsd .S‘tercs v. Gin.tgcw, the Ninth Circuit found there to be valid waiver where the suspect had
a criminal record1 and thus familiarity with police practices, and no apparent difficulty
understanding the questions See Ginrgew, 451 F.2d 557‘1 558 (9th Cir. 1971).

As with Glosgcw, Hinkson was familiar with police practices because of his criminal
record. Similar to Bredshaw, Hinkson had not been threatened or induced to talk. Hinkson had
been given his Mirende warnings, he verbally acknowledged that he understood them, and he
expressed no diflieulty comprehending them. lt is therefore clear that l-Iinlcson's waiver ofhis
Fifth Amendment rights was valid.

Defendant’s assertion that he felt intimidated by S/A long, and therefore was incapable
of resisting interrogation1 is unsupported by any evidence other than Defcndant’s self-serving
assertions, and it belies the reality ofboth his prior arrest and his discussion with S/A hong on
April 4, 2003. Even taking the essential facts ofDefendant’s recitation of his prior arrest as true
- that, after Defendant had failed to respond to bullhorn calls, steam of law enforcement officers
stormed Defendant’s house and, finding him lying next to a loaded weapcn, handcuffed
Def-dant, hurriedly caused him to get dressed1 and then shoved him into the back seat cfa car -
there is nothing about the arrest that is extraordinary or that reasonably would cause one to be

intimidated months later when meeting a member ofthat arresting tesni. ,S'cc Memorandum in

GOVERNME.NT’S RESPDNSE TO DEFENDANT’S MOTION FOR PROPBR VENUE OR.
ALTERNATI`VELY, MDTION 'I‘O CHANGE VENUE
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Suppott, at 5." Indeed, Defeudant’s conduct on April 4. 2003, was anything but that of the
cowered witness that his counsel now paints him to be. Much to the contrary, as discussed
above, When oon.&onted by S/A Long, Defendant was argumentative and he resisted instructions

In sum, Det`endant knowingly, intelligently, and voluntarily waived rights under the Fifth
Amendrnent to remain silent and to have the assistance cf counsel during custodial interrogation
H. There Has Bean No Spollation of Evidence

Finally, Defendant argues that by turning off his tape recorder, the Government
improperly prevented him nom presenting a complete defense in violation of the Due Process
clause or the Conii'ontation Clause of the Sixth Amendment, and that this act of writing off the
tape recorder somehow destroyed evidence These assertions grossly overstate Dei`endant’s
rights, as the decision to turn off the tape recorder was entirely proper and consistent with FBI
procedure, which requires FBI agents not to tape interviews without special consent ii'otn the
Special Agent in Charge of their field otiice. Defendant also fails to recognize that, in fact, no
evidence was destroyed Rather, Defendant’s tape was preserved, which is why he could cite it at
length in his Motion. Finally, it is worth noting that nowhere on the tape did Def-dant request
that the tape recorder not be turned oft`.

The untenable nature ofDefendant’s position is highlighted by the title of Section I[I of

his briefl which is “Spoilation of Oppotturu`ty To Obtain Evidllce . . ." Memorandum in Support

 

‘* The assertions of Defense counsel that the law enforcement agents maliciously
damaged Defendant’s property and nrinated in Defendant’s bathtub are made without reference
to any record or evidence These unveritied contentions are untrue, and absent any supporting
evidence their bald assertion does not merit an evidentiary heating

GOVERNMENT’S R.ESPONSE TCJ DEFENDANT'S MOTION FOR PRDPER VENUE DR
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of Motion, at 6. In fact, there is nn such concept in law. To the contrary, according to the very
cases cited by Defendant, the Govemment is under no duty to obtain evidence The Ninth Circuit
clearly articulated this principle in Mz'ller v. Vosqusz, 368 F.2d l l 16' (9"' Cir. 1989), where it
stated as follow¢:

We are not persuaded by Miller's argument that Tromberto imposes upon police a

duty to obtain evidence The Suprerne Court in Trombctra was confronted with a

situation in which the police had obtained but failed to preserve breath samplesl

The Coutt held that the government may have a duty to preserve evidence after

the evidence is gathered audio possession of the police Trombetro did not

impose a duty to obtain evidence Thus, fromberro does not control this case

Miller has not cited a case, nor have we found one. which holds that the due

process clause is violated when the police fail to gather potentially exculpatory

evidence On thc contrary, the cases we discovered hold to the contraty.
868 F.Zd lllti, 1119 (9"* Cir. 1989) (citations omitted). Thc Miller court iiuther held that the
Supreme Court's decision in Art‘aono v. Yonngblood, 488 U.S. 51 (1988}, which is also cited by
Defendant, “rnakes clear. even failure to preserve evidence that is only potentially useful does not
violate due process in the absence of bad faith on the part of the police" 368 F.2d at 1120. '

These decisions recognize that S/A Long had no duty to leave Defendant’s tape recorder
on to generate evidence Moreover, because S)'A long did not lotow what Defondant would say
in an interview, it carmot be said that he knowingly failed to preserve exculpatory evidence
Iudced, S/A I.ong cannot be said to have acted in bad faith when he was following the FEI’s
standard procedure not to tape interviewsl

Det`endant's reliance on the Due Process and Eonn'ontation Clauses is off the rnarlrll as
the cases cited by Defendant bear no factual or legal nexus to the instant action. 'I\wo ofthe cases

concern trial decisions to exclude existing evidence Crone v. Kenrztcky, 476 U.S. 683, 685

GOVERNMENI"S RESPONSE TO DEFENDANT’S MOTION FOR PROPER VEN`UE GR
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(1986) (regarding how confession was obtained); Motr v. Sreworr, 2002 WL 31017646 (D. Aria.
2002) (regarding battered women syndrome); and two others concern an alleged interference with
defense counsel’s ability to question witnesses United .S‘totes v. Agosn`no, 132 F.3d 1183 (7“‘ Cir.
1997), cert denied, 523 U.S. 1079 (1998) (government allegedly asked witness not to speak with
the defense); Unirsd S¢ares v. Cnsn'llo, 615 F.Zd 878 (9"‘ Cir. 1980) (government's deportation of
two aliens did not interfere with counsel’s ability to interview them). These situations are not
present here, and none of these cases involves the Govemmcnt’s destruction oil or failure to
createl evidence
Defendant also cites Um'tad Srotes v. C'cnona, which involved a situation where the police
did not allow a defendant to aec his father immediately after the defendant was arrested for
driving while intoxicated (DWI). 622 F. Supp. 279 (W.D.N.C. 1985), oj"‘d, 795 F.2d 82 (4"‘ Cir.
1985). The conrt‘s holding that the police improperly prohibited defendant’s father from
observing defendant while in custody, which might have been helpful to rebut evidence of
defendant’s alleged intoxication, is limited to the unique circumstances of DWI. Id. at 281-82.
Moreover, the C'nnnna court based its holding on an accused’s rights to be brought before a
Magisn'ate without undue delay and to communicate with friends and relatives 622 F. Snpp.
279, 280-81. None of those issues or interests are at issue in the instant action In any event, as
discussed above, the Ninth Circuit has taught in Mil'!sr that the failure to preserve evidence that
is only potentially usetitl does not violate due process in the absence of bad faith. O.nce again,
S/A Long had good reason not tape the interview. He was following stande FBI procedure

COHBBq“¢Mly, there has been no violation ofDefendant’s rights under the Due Process or

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Conli'ontation clauses, nor has there been spoilation of evidence
CONCLUSIDN
For the reasons set forth above, the United States respectfully requests that the court deny,
without any hearing. the defendant’s Motion to Suppress Evidenee of Defendant's Alleged

Cont`ession.

MICHAEL P. SULLIVAN /
Special Assistant United Statea Attorney
MlCl-IA.EL D. TAXAY

Trial Attorney

United States Depa.rnnent of lustice
Counterterrorism Section

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GOVERthENT’S RESPONSE TO DEFENDANT’S MOTION FOR PROI'BR VENUE OR
ALTERNATWELY, MOTION 'I`U CHANGE VEN'UE
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CER.TIFICATE OF SERVICE

l certify that, on this _ day of

2004. I have served a true and correct

copy oftlte forgoing GDVERNMENT’S RESPONSE TO DEFENDANT 'S MDTION '.[`0
SUPPRESS EVIDENCE OF DEFENDANT’S ALLEGED CONFESSION upon the persons

named below by the method so indicated:

Wesley W. Hoyt

Attorney for Defendant
Banlt One Building

333 West Ha:mpden #500
Englewood, Colorado 301 10

The Honorable Richard Tallman
United States Courthouse

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Seattle, Washington 9810]

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Tene Ld Lewis, Secretary

GOVHRNMIENT’S RESPONSE TO DEFENDANT’S MOTION FOR PROPER VENUE OR
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SUPPLEMENTAL REPDRT: AGENCY ASSIST AR.REST OF DAVID HINKSCJN

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nara sun TIME= APatL 4 "H 2003 sr ssPaoxtMsraLY soo P.M.

L()CATIUN: KOOSKTA SHERIFF’S S BST`A'l`lON KOGSK.IA, IDAHO

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SUSPECT: I-Il`N`KSON. DAVID R_

OFFICERS: LlEUTENANT SKOT'I` J. MEALER. I'DAHO COU'NTY' SHERIFF’S
OFFICE AND SPECIAL AGENT WlLLlAM LONG OI" 'I`H.E li'EDER.AL BUREAU OF
INVESTIGATIONS F.B.l. CUEUR D’ ALENE, IDAHO

On the above date and time I assisted Agent William long of the F.B.I. in the arrest of
l_`)avid R. Hinksou. This arrest occurred in the ldaho County Sherifi’s Uffice substation
located on Main Street in Kooskia ldaho.

At approximately 01 :S l P.M. l placed a call to Hinlcson's business approximately 6 miles
south ofl{ocslria. The business name is Water Oa and the numberl called was 208-926-
4618. When I called the business l asked to speak with l-linlcson and was transferred to
him. During our conversation I asked to meet him at the Kooskia Shetift’s substation to
discuss the Mariana Raff theft casel Ms. Rai`fhad allegedly stolen $6,000.00 in cash
from Hinicson’s residence a few months earlier. After a brief conversation1 Hinkson
agreed to meet me and said he would be on his way shortly. I concluded the call st
approximately 02:15 P_M.

Althougb l Was actually conducting an investigation in this alleged theft from Hinltson, l
used this meeting as a rose to get Hinlrson to come to the office so that Agent Long could
make a Federal arrest on him. l had been involved in the previous arrest of Hinlcson at
his residence last fall. lam also aware of anti-law enforcement people who are
sympathetic to Hinkson’s current dealings with the Federal government and their violent
statements towards Law Enforcement in general. By hav` g him come to the office l felt
he would come alone and he could be arrested without incident or interference from these
supporters

At approximately 03:00 P.M. Hinlcson had not arrived at my office and l placed another
call to Water Or.. l was told that Hinicson had just lott for Kooslcia.

et approximately 03:15 l observed Hinkson driving a small car near the Kooslria
substation He parked it on the south side of the building l recognized Hinltson as the
driver and noticed him fumbling with something in the front passenger seat of his

vehicle As he exited the vehicle l noticed he had papers in his hand. I watched Hinlcson
walk to the ti'ont' of the Kooskia City Hall and enter the building.

 

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A short time later he entered the Sheriff’s Oftice and we exchanged greetings and
introductions. Agent Long, Deputy lason Mealer, and myself were present when
Hinkson walked in- l invited Hinkson towards the back of the office and he began
explaining his theory of what had happened to his missing money and why he felt
Mariana Raft` was the only one that could have taken the money. At that tirne,l Deputy
iason Mealer completed his work and left the oftice.

I-Iinksou also told me about a credit card that he had at his residence and that it had been
used without his permission in Lewiston_ This card bad been used to remove
approximately $SDU.OO worth of cash. Hinkson felt that Raff was also the suspect in this
theft and told mc he had contacted the police in Lewiston. He indicated that they were
working on getting the ATM video that was taken that day from that particular machine
and were going to try to identify the person who used the card during thc times cf the
withdrawals

Hinkson explained how he had hired R.aff to accompany him to Mexico to establish a
business. He went through the particular statements tracking the money transfers that had
been arraigned by Raff. As we were talking about this, Agent Long stood near us but off
to the side. After we had discussed this infennation, l advised Hinkson that Agent Long
wanted to talk with him. I told him I would follow up on the Raff case and ask her to
submit to a polygraph test.

We walked to the back of the office and sat at a desk located towards the rear of the
substation Hinkson was sitting directly across from mc. Agent Long approached
Hinkson. As Agent Long did this he told Hinkson he was going to arrest him and take
him to jail for violating his bond agreement As Long approached, Hinkson be said, “Can
l call my attomey?” Long said, “Not right now" and instructed him to stand. Hinkson
looked at Long and started to get up. Hinkson said he didn’t really want to go with him.
Long stepped in and started searching Hinkson. As Long was searching Hinkson, he
found a tape recorder in his front shirt pocket and removed it. As he pulled it out I
noticed it was on and told agent Long. Long handed it to me and asked me to turn the
tape oft`_ ldid.

control over.

Hinkson became excited and started telling Long that he felt R.aff had set him up and she
was behind all of this. Long told him that she had spoken to the police about his trip to
Mexico and that he was aware of a proposition between Raff, her brothers and Hinkson.

 

 

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l-iinlcson said he had transferred approximately $86,009.00 to Citi Bank of Mexico to
start a new business. Hiukson said the deal had gone bad and he had been in contact with
the banks in Mexieo and had recovered most all of what he had sent there except for

Hinkson said he wanted to talk to them about doing that and she arraigned a meeting with
them. I-lin.ltson said they met at a “titty bar" and discussed killing the person that took his
money. I-Iinkson told me this “titty bar” was one ofthe businesses he wanted to buy and
convert into a Water 02 plant This meeting took place in Pueblo, Mexieo at what was
actually a combination shopping mall and topless bar.

Agent Long told Hinkson he had another person tell him about an earlier conversation in
which Hin.kson had offered $10,000.00 to kill a judge, a federal prosecution and, an IRS

agent. Hinkson said1 “I knew that guy was a F.B.I. 'Lnfortnant". Hinkson said the guy he
suspected as the informant was named J.C. Agent Long told l'-Iinkson he had a recording

said that he was very mad at Agent Hines because he lied to a grand jury about being the
leader ofthe local "Militia". Hinkson went on to say how mad he was about Nancy Cook

against his business Hin.lcaon said fudge Lodge was a failure and had been that way
since he was appointed to the bench and had “nevet made an intelligent ruling". Hinkson
said he thought .Iudge Lodge covered up for the F-B.I. during the Randy Weaver,trial and
dismissed the charges Hinkson said “I haven’t seriously said this or with any intent”.

Hinlcson said he had been approached by J.C. last week and told he could have anyone
taken out for $10,000.00. Hinkson said he was mad enough to do it, but felt the court

wanted anyone killed.

Hin.kson said he did tell Raffhe wanted to have her brothers *‘hurt“ that guy in Mexico
who took his money, but that conversation was in another country and we had nothing to
do with that,

Long asked him what he remembered saying to J. C. Hin.kson said he thought he might
have said something like “I wish God would smite them”. I-Iinkson thought he might
have also said this in ii'ont or J.C. 's girli"riend, Ann Bates. Hirdcson said he did say, “If
someone was to kill them it would be worth $10,000.00 to mc".

 

 

 

 

 

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Exhibit 2

 

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FEDERAL BUREAU QF WVESTIGATIDN

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On 4~4-03 David R. Hinkeon, DGE 7-18~56, was arrested by
'SA William R. Long at the Idaho County Sheriff's Departmont
substation in Kooekia, Idaho. The arrest occurred at approximately
3=30pm. Preeent and participating in the arrest and eubee ent
interview was Idabo'County Deputy Sheriff scott Mealer. H nkeon
was arrested without incident. Hinkeon's person was searched
incident to arrest with no weapons or contraband found. Hinkson
was found to be in possession of a small tape recorder which
ap cared to be recording. The recorder was removed from Hinkeon's
ah rt ocket and turned off by SA Long. Hinkson was then
interv owed at the same location. Hinkeon was read his "Miranda"
warnings by SA Long from the standard form prior to interview-
Hinkeon indicated that he understood_the "Miranda" warnings and
began talking to the interviewers. Hinkson was not handcuffed
during the interview. Hinkson provided the following information=

Hinkeon believed his employec, Mariana Raff, had stolen
money from him. He sent $e$,ooo to Mexico via wire transfer for
the purpose of expanding bia business operations in Mexico. Raff
made the arrangements in Mexico to complete this transaction as she
speaks Spanieh and Hinkaon does not. dHinkeon found that he was
unable to access this money in Menico. Hinkson believed the money
had been stolen by the third party in Mexico with whom Raff worked
in conducting transactions there. Hinkson has since recovered all
but $32,000. This amount is still outetanding. Hinkeon told Raff
of his desire to hurt or kill the third party in Mexico who stole
his money- Raff suggested that she could "get the job done" for
$6000 through her contacts in'Mexico. Hinkson then discovered
$SODU cash missing from his home. Ho later realized that Raff had
stolen the $Gooo as she would have known where it was in his home.
The amount of $EOOD is roughly what she needed at that time for a
down payment on her new houoe. Hinkaon now believes that Raff was
responsible for the theft of the $BE.UDD and ia responsible for the
outstanding amount of $32,000- Ho fired Raff after the theft of
$EUUD from his home.

Hinkson stated that he has been very angry and frustrated
since his arrest in November of 2002. He stated that he has
"vented" in conversations with "J.C.", Annie Bates, Mariana Raff,
and othere. Hinkeon has "vented" in conversations about Judge

 

 

 

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w SA William R. Long

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Lodge, Nancy Cook, Bteve Hines, and Dennis Albers. Hinkson blames
dudge Lodge for wrongfully dismissing Hinkson's lawsuit against
Nancy Cook and Steve Hines. Hinkson believes that Judge Lodge has
never made a correct ruling during his career on the bench. As an
example, he cited the ruling to dismiss charges against the FEI
agent involved in the Vicki weaver shooting.

- Hinkson blames Assistant United Btates Attorney Nancy
Cook for forging the indictment against him. Hinkson‘believes that
there was no "certificate" of indictment which makes_the indictment
fraudulent. Furtherl Hinkson believes that there was 12 Grand Jury
"tribunals" in which no indictment was.issued, therefore the
indictment was forged by AUSA Cook. Also, there was more than a 70
day delay between the indictment and his arrest. Hinkson believes
this also renders the indictment invalid and forged by AUSA Ucok.
He stated that AUSA Cook has a personal vendetta against him.

Hinkson blames IRS Agent Steve Hines for many of his
problems. ninkson believes Hines has "stalked" him since 1997 for
the purpose cf putting him out of business. Hinkson stated that
Hines perjured himself in Grand Jury roceedings. Hines lied about
Hinkspn being the leader of two milit a groups and illegally
dealing in machine guns. nines improperly summarized testimony
from previous Grand Jury sessions.

Hinkson blames Grangeville, Idaho attorney Dennis Albers
for his legal problems also. Albers has sued him representing a
former Water 02 employee and has been involved in other litigation
pending against Hinkson. '

. Hinkson was asked directly if he ever offered money to
pay for the hurting or killing of Judge Lodge, AUSA Cock, SA.Hines,
or Dennis Albers. Hinkson respondedr “I never with intent said I
would pay to kill someone." Hinkson said several times that he
never "seriously" offered to pay to have someone killed or hurt.
Hinkson stated that he had never hired anyone to hurt anyone.

Hinkson did say to neff "it would be really nice if

somebody hurt that guy" in reference to the person in Merico who
stole his money.

Hinkson said that he never had a conversation with J.C.
about killing Judge Lodge, AUEA Cook, or SA Hines. Hinkson stated
he was sure that he did not remember if he had ever made a ‘
statement about hurting sA Hines. Hinkson stated that he never

 

 

